 

Case 2:15-Cr-00180-DWA Document 27 Filed 03/23/17 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF PENNSYLVANIA

United States of America
)
vS. ) Criminal Number 15-180-001
)
)

SANTINO ACHILLE

The above named defendant satisfied the judgment of MARCH 16, 2017
by paying on MARCH 16, 2017 the full balance due on court ordered:

X ASSESSl\/IENT
FINE
COST

RESTITUTION

The Court’s docket and judgment index should be marked to reflect Satisfaction of the judgment.

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Dep?l§' Clerk Date

 

 

 

 

